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AO 136 (Rev. 10/13) Certificate of Good Standing



                                       UNITED STATES DISTRICT COURT
                                                                      for the
                                                       __________   District of __________
                                                            District of Minnesota

                                             CERTIFICATE OF GOOD STANDING




          I,                                                Kate M. Fogarty                                    , Clerk of this Court,


certify that                               Daniel C. Hedlund                        , Bar #                 258337                    ,


was duly admitted to practice in this Court on                         08/01/1997             , and is in good standing as a member


of the Bar of this Court.


Dated at                                           St. Paul, MN                         on                10/28/2021
                                                    (Location)                                               (Date)




                            Kate M. Fogarty
                                   CLERK                                                        DEPUTY CLERK
